 

J ames T. Brennan
BRENNAN, HEDLAND, HEIDEMAN
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Anehorage, AK 99501
907 279-5528
UNITED STATES DISTRICT COURT

DISTRICT oF ALASKA
MICHAEL DoYLE _ ` )
le“tlff» § IN ADMIRALTY
V.
)
F/v INFINITE GLoRY, o.N. 931164, ) No.
HER ENGINES, MACHINERY, )
APPURTENANCES» ETC-» IN REM` § vERIFIED CoMPLAINr IN REM AND
and ) 1NPERSONAM son FAILURE ro
) PAY WAGEs, BREACH or
BRYAN R. HoWEY, IN PERSONAM, ) CONTRACT, FORECLOSURE OF
) MARITIME LrENs AND vioLA'rIoN
D@f@ndams. ) or ALASKA AND FEDERAL
) s'rA*ruTEs

 

Plaintir`fl\/Iichael Doyie alleges as follows:
I. JURISDICTION AND VENUE

l. This case is within the admiralty and maritime jurisdiction of this Court
pursuant to the general maritime law, 28 U.S.C. § 1333 and 46 U.S.C. § 313, et. .s'ec].,
including as amended, and is within the meaning of Rule 9 (h) of the Federal Rules of Civil
Procedure. Del"endant vessel, the F/V INFINITE GLORY, is within this District or will be

during the pendency of this action Defendant Howey resides Within this District and

_ conducts business within this District related to the matters alleged below. Defendant

Howey hired Plaintiff in this District for employment aboard the referenced vessel within this

Distriet.

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II. PARTIES
2. Plaintiff was at all times material hereto a citizen of the United States, a Jones
Act Seaman and a member of the crew of the F/V INFINITE GLORY engaged in the work
of said vessel at sea during the Alaska Salmon and l"Ierring iisheries.
3._ Defendant vessel F/V lNFlNITE GL()RY, O.N. 981164, at all times material
hereto was a vessel of the United States owned by the in personam defendant and operated
by him in the directed fisheries of the State of Alaska.

4. Defendant Bryan liowey was the operator of the F/V INFINITE GLORY and

the employer of Plaintiff.
III. FACTS

5. ln the Summer of 2010, Plaintiff performed his assigned crew member duties
aboard the F/V iNFlNITE GLORY in the service thereof as the skiff operator pursuant to an
oral agreement with Defendant Ielowey that he would be paid as a “fnll share” (i.e., 10% of the
value of the catch, less actual food and fuel) crewman, on a crew»share basis, for the duration
of the Salrnon Seine fishery. Contrary to the terms of the agreement, Defendant Howey failed
to pay Plaintiff as agreed, including by failing and refusing to pay Plaintiff his agreed crew-
share on the Salmon “retro,” or supplementary, payment received for the catch several months
after the initial payment was received by Defendant Howey.

6. In the Spring of 2011, Plaintiff performed his assigned crew member duties
aboard the F/V INFINITE GLORY in the service thereof as the skiff operator pursuant to an
oral agreement with Defendant Howey that he would be paid as a “full share” (i.e., 10% of the
value of the catch, less actual food and fuel) crewman, on a crew-share basis, for the duration

of the Herring Seine fishery. Contrary to the terms of the agreement, Defendant Howey failed

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to pay Plaintiff as agreed, including by failing and refusing to pay Plaintiff his agreed crew-
share on the Herring “retro,” or supplementary, payment received for the catch several months
after the initial payment was received by Defendant iiowey.

7. Despite demand therefore, Defendant I~lowey failed to provide Plaintiff with an
accounting of deductions taken from the partial crew-shares paid by Defendant Howey, failed
to make fuil payment of the agreed crew~shares on the initial payments received by Defendant
Howey or any payment as to the “retro” payments received by Defendant Howey -- for either
the 2010 Salmon deliveries or the 2011 lierring deliveries made by the vessel as a result of
Plaintift” s service to the vessel during the referenced seine fisheries

8. Defendant’s faiiure to reduce to writing the agreements above-referenced
violated 46 USC § 10601. Defendant’s failure to pay Plaintiff timely was a violation of AS §
23.05.140.

9. Defendant Howey’s continuing refusal to pay Plaintiff in accordance With the
agreement between Piaintiff and Defendant I*lowey has been wrongful, calloused and
constitutes recalcitrance, warranting imposition of punitive damages and attorney’s and costs
of suit.

10. Defendant Howey’s refusal to pay Plaintiff his entire agreed crew»shares for
both the 2010 Salmon and 2011 Herring frshery, including the supplemental “retro” payments
received by Defendant Howey for the catch, gave rise to an lien for necessaries against the
Defendant vessel on the dates such payments became due, as a matter of law, for the total

amounts thereof7 plus prejudgment interestl

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III. CAUSES OF ACTION
A. WRONGFUL REFUSAL TO PAY SEAMAN’S WAGES

ll. Defendant Howey’s conduct as described above constitutes a wrongful refusal
to pay seaman’s wages when due, warranting an award of damages of not less than two times
the amounts due for Herring and for Salmon, including the supplemental or “retro” payments
received by Defendant Howey for the catch, plus Plaintiff’s attorney’s fees and costs of suit
herein, and prejudgment interest from the dates such payments were due.

B. BREACH OF CONTRACT

12. Defendant Howey’s conduct as described above constitutes breach of the
parties’ agreement, warranting an award of damages of not less than two times the amounts
due for Herring and for Salmon, including the supplemental or “retro” payments received by
Defendant Howey for the catch, plus Plaintift”s attorney’s fees and costs of suit herein, and
prejudgment interest from the dates such payments were due.

C. FORECLOSURE OF MARITIME LIENS

13. Defendant Howey’s conduct as described above entitles Plaintiff to an Order
from this Court for the arrest and interlocutory sale of the Defendant Vessel F/V lNFlNITE
GI.,ORY, O.N. 981164, HER ENGINES, MACI-IINERY, APPURTENANCES, ETC.,
forthwith, the proceeds thereof to abide the judgment herein, consistent with the rules and
processes of this Court in Admiralty.

l). VI()LATION OF ALASKA AND FEDERAL STATUTES
14. Defendant Howey’s conduct as described above violated statutes of the United

States and the State of Alaska, entitling Plaintiff to all rights and remedies appertaining thereto,

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but to no less than two times the amounts due for i~lerring and i`or Salmon, including the

supplemental or “retro” payments received by Defendant Howey for the catch, plus Plaintiff`s

attorney’s fees and costs of suit herein, and prejudgment interest from the dates such payments

were due.

IV. PRAYER F()R RELIEF

Plaintiff l\/Iichael Doyle prays for relief andjudgment as follows:

Tliat process including a warrant for arrest issue against the F/V INFINITE
GLORY, O.N. 981164, her engines, machinery, appurtenances5 tackle, apparel and
boats, etc., wherever located, according to the rules and practices of this Court;
That Plaintiff have a decree establishing the validity of and foreclosing his liens
against the F/V INFINITE GLORY, O.N. 981164, her engines, machinery,
appurtenances, tackle, apparel and boats, etc., wherever located;

"I` hat the F/V ll\lFll\lITlE GLORY, O.N. 981164, her engines, machinery,
appurtenances, tackle, apparel and boats, etc., wherever located, be arrested,
condemned and sold to satisfy said decree;

That Plaintiff be awarded damages against Defendants jointly and severally for
Defendant Howey’s wrongful refusal to pay seaman’s wages; for Defendant’s
breach of contract; for Defendant’s violations of Alaska and United States statutes,
and prejudgment interest from the dates such payments were due;

That Plaintiff be awarded damages against defendant Howey and the Defendant
vessel jointly and severally for the wrongful refusal to pay timely all crew-shares

when due and to which he is entitled;

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6. That Plaintiff be awarded punitive damages against defendants, jointly and
severally, for their wrongful conduct as alleged herein, including their refusal to
pay timely crew-shares to which he is entitled, together with his attorneys fees
and costs of suit;

7. For such other and further relief as the Court deems appropriate under the
circumstances

Respectfully submitted this 29th day of August, 2012.

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VER_IFICATION
l, Michael Doyle, hereby declare under penalty of perjury under the laws of the State of

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Alasl<a that 1 have read the foregoing Verified Complaint, know the contents thereof

and believe the same to be true based upon personal knowledge of the facts recited

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above and upon the best information available to me, and do so this t.:t`) day of

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